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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                              §
                                                        §                  Case No. 20-35599
    AZTEC / SHAFFER, LLC, et al.,                       §
                                                        §                  Chapter 11
              Debtors.1                                 §
                                                        §                 (Jointly Administered)

    DEBTORS’ RESPONSE IN OPPOSITION TO EMERGENCY MOTION TO DISMISS
                            (Relates to Doc. No. 8)

             Aztec / Shaffer, LLC, et al., the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) hereby file this Response in Opposition to Emergency Motion to

Dismiss Unauthorized Filing [Doc. No. 8] (the “Motion”) and in support hereof, respectfully state

as follows:

                                 I.   PRELIMINARY STATEMENT

             1.    These cases (the “Chapter 11 Cases”) commenced on November 17, 2020 (the

“Petition Date”), when the Debtors filed voluntary petitions for relief under chapter 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas,

Houston Division (the “Court”). The movants (“Movants”) have alleged that the Chapter 11 Cases

were filed without valid corporate authority. The Movants are mistaken.

             2.    Movants purport to act on behalf of Debtor, Aztec / Schaffer, LLC (“Aztec”), but

are, in reality, agents of American General Life Insurance Company (“American Life”), The

Variable Annuity Life Insurance Company (“Variable”), and American Home Assurance

Company (“American Home”, and collectively with American Life and Variable, the “AIG



1
 The debtors and debtors in possession these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Aztec / Shaffer, LLC (2038); and ASAIG, LLC (2323). The
Debtors’ service address is: 601 W. 6th Street, Houston, Texas 77007.
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Lenders”) and Cortland Capital Market Services LLC (“Cortland,” and collectively with the AIG

Lenders, the “First Lien Parties”). Movants’ actions are directed by the First Lien Parties in an

attempt to collect upon certain prepetition secured obligations of the Debtors. As will be shown

herein, not only are the Movants incorrect regarding the Debtors’ authority to commence these

Chapter 11 Cases, the continued exercise of collection remedies and attempts to assert control over

the property of Debtor ASAIG, LLC (“ASAIG”) by the Movants and First Lien Parties constitutes

a willful violation of the automatic stay.

                                      II. BACKGROUND

       3.      Formed on or about April 14, 2015, Debtor Aztec, a Texas limited liability

company, is one of the premier party rental and tenting specialists in Houston, and provides

services for events both domestically and internationally. The Debtors’ two business segments,

Aztec Events and Shaffer Sports, have both been in business for over sixty (60) years. The Debtor

was formed to purchase the businesses from the former owner, Double Eagle Sports & Events.

       4.      The Aztec Events segment of the business maintains the largest party and event

rental inventory in the Houston metropolitan area. It services individuals and corporate clientele

hosting events ranging from small weddings to large corporate retreats. Such events include the

Houston Livestock Show & Rodeo, the MS150 Bike Ride and the Offshore Technology

Conference. The Shaffer Sports division is a leading event rental company for sporting events

throughout North America and the Caribbean. The Debtor has established itself as the go-to

service provider for more than 150 major events, including more than 40 of the PGA Tour’s most

prestigious golf tournaments, where it provides unique tenting, indoor and outdoor structures,

seating, and other products designed meet the client’s individual needs.




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           5.      Formed on or about January 23, 2019, Debtor ASAIG, a Texas limited liability

company, was formed to act as the holding company for Debtor Aztec, its wholly-owned

subsidiary.

A.         The First Lien Debt

           6.      Prior to the Petition Date, the Debtors were parties to that certain First Lien Credit

Agreement dated as of February 13, 2019 (as amended, restated, supplemented, or otherwise

modified from time to time, the “Credit Agreement”)2, by and among Aztec, as borrower, ASAIG,

as guarantor, Cortland (now known as Alterdomus), as term loan agent and collateral agent, Texas

Capital Bank, N.A., as revolving agent, and the financial institutions party thereto from time to

time, as lenders (the “First Lien Lenders”), including the AIG Lenders.

           7.      As security against the Debtors’ obligations (the “First Lien Debt”) under the Credit

Agreement, the Debtors granted Cortland, for the benefit of the First Lien Lenders, liens in

substantially all of their assets pursuant to that certain First Lien Security Agreement dated as of

February 13, 2029 (the “Security Agreement”)3, by and among Aztec and ASAIG, as grantors, and

the Collateral Agent. Among other collateral securing the First Lien Debt, ASAIG pledged its

100% equity interest in Aztec (the “Pledged Equity”) in favor of the Collateral Agent for the

benefit of the First Lien Lenders. Significantly, however, the members of ASAIG are not

guarantors under the Credit Agreement and have not pledged their interests in ASAIG.

B.         Events Leading to Bankruptcy

           8.      Currently, the Debtors derive the totality of their revenue from equipment rentals

and related services. As a result, the Debtors’ revenues, access to capital, growth as a company,

and ultimate profitability are subject to current market conditions which have been severely


2
    Attached hereto as “Exhibit A.”
3
    Attached hereto as “Exhibit B.”

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impacted by COVID-19. In light of the economic realities caused largely by the pandemic, the

Debtors have not been able to generate sufficient cash from operations to satisfy their pre-petition

indebtedness and various other obligations as they become due and have relied heavily on various

lenders to fund operations. These factors have significantly harmed the Debtors’ financial

position, and as a result, the Debtors have incurred substantial losses from operations, particularly

in fiscal year 2020.

        9.       Prior to the Petition Date, the Debtors were engaged in good-faith negotiations with

the First Lien Parties regarding the status of the First Lien Debt, a potential forbearance, and new

financing. Ultimately, those discussions were not fruitful and, after the close of business on the

Petition Date, Cortland provided notice (“Notice”) of its intent to exercise certain rights under the

Security Agreement.4

        10.      Attached to the Notice, Cortland provided an executed Written Consent of the Sole

Member in Lieu of Meeting of Aztec/Shaffer, LLC (the “Consent”) purporting to remove “existing

Managers” and appointing Timothy Hassenger as Manager of Aztec. Significantly, the Notice

expressly states that neither the Notice nor the Consent “shall cause the transfer of the Pledged

Equity to the Collateral Agent.” As expressly acknowledged in the Notice, the Consent only

became effective upon receipt of the Notice.

        11.      Pursuant to the express terms of the Credit Agreement, because Cortland’s Notice

was sent after the close of business, it was not effective until the open of business on the next

business day for the Debtors. Specifically, Section 10.1 of the Credit Agreement expressly

provides that if notices or other communications are sent after 5:00 p.m. (New York time) on a


4
  See Email from Anastasia Sotiropoulos sent Tuesday, November 17, 2020 at 5:58 p.m., to Kelley Williams, et al.,
regarding Cortland/Aztec – Pledge Enforcement Letter (attached hereto as “Exhibit C”); see also Notice of Exercise
of Certain Rights Pursuant to First Lien Credit Agreement and First Lien Security Agreement (attached hereto as
“Exhibit D”).

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business day for the recipient, then such communications are “deemed to have been sent at the

opening of business of the next business day for the recipient.” See Exhibit A, p. 127-28.

Accordingly, the Notice and Consent were not received, nor did they become effective, before the

opening of business on November 18, 2020.

       12.     Prior to Cortland’s notice becoming effective, ASAIG duly authorized the

commencement of these Chapter 11 Cases.

                                       III. OBJECTION

       13.     Movants’ sole argument for dismissal assumes that both Cortland’s exercise of

voting rights under the Security Agreement and delivery of the Consent became effective on the

Petition Date. As set forth above, that argument fails under the applicable provisions of the Credit

Agreement. Because the Notice and Consent were not effective until the open of business on

November 18, 2020, these Chapter 11 Cases were commenced prior to the removal of the

managers.

       14.     Moreover, it is uncontested by the First Lien Parties that ASAIG’s own bankruptcy

was duly authorized. Upon that filing, the First Lien Parties were prohibited from taking any action

to collect, assess, or recover the First Lien Debt or taking any action to obtain possession of

property of the estate or property from the estate or to exercise control over property of the estate.

11 U.S.C. § 363(2), (6).

       15.     Property of ASAIG’s estate expressly includes ASAIG’s membership interests in

Aztec and the voting and management rights associated therewith. See In re Gencanna Glob. USA,

Inc., No. 20-50133, 2020 Bankr. LEXIS 1742, at *13 (Bankr. E.D. Ky. July 2, 2020) (“Equity

voting rights are property of the estate.”); see also Caymus Ventures, LLC v. Jundanian (In re

Jundanian), Nos. 10-21513-TJC, 11-00185, 2012 Bankr. LEXIS 1370, at *16 (Bankr. D. Md. Mar.



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30, 2012) (finding that voting and management rights under a limited liability company agreement

were property of the debtor’s estate). Accordingly, upon the commencement of ASAIG’s Chapter

11 Case, the First Lien Parties were prohibited by the automatic stay from exercising control over

ASAIG’s right to vote its membership interest or from managing Aztec or from otherwise

exercising any pledged rights in an effort to collect the First Lien Debt. See In re MARVEL Entm't

Grp., 209 B.R. 832, 839 (D. Del. 1997) (“Because the pledged shares were property of the Marvel

Holding Companies' estates, appellants were required to seek […] relief from the automatic stay

[before] exercising control over those shares.”); cf In re Bicoastal Corp., Case No. 89-8198-8P1,

1989 Bankr. LEXIS 2046, at *18 (Bankr. M.D. Fla. Nov. 21, 1989) (finding that the automatic

stay prohibited a creditor and preferred shareholder of the debtor from exercising its right to elect

a majority of the debtor's board of directors that accrued when the debtor failed to timely repay the

creditor/preferred shareholder's loan to the debtor).

       16.     Thus, contrary to First Lien Parties’ position, from and after the filing of the

petitions and notwithstanding any provision of the Security Agreement, ASAIG, not Cortland, is

authorized to exercise any voting rights resulting from ASAIG’s interest in Aztec.

                               IV. HARM TO THE DEBTORS

       17.     As set forth herein, the First Lien Parties are violating the automatic stay by

attempting to exercise control over property of ASAIG’s estate. Moreover, the First Lien Parties’

actions have caused significant confusion amongst the Debtors’ customers and critical vendors.

As a result, during the first critical days of these Chapter 11 Cases, the Debtors have been severely

hampered in their ability to have effective dialogue with customers, vendors, and other lenders.

Put simply, the First Lien Parties’ willful violation of the automatic stay is causing significant

damage to the Debtors and the Debtors’ estates. As reflected in the attached letters supporting the



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Debtors and existing management, the First Lien Parties’ actions also threaten to cause harm to

the Debtors’ vendors. See Exhibit E. The Debtors expressly reserve the right to seek damages

pursuant to Bankruptcy Code § 105 as a result.

                                         V.   PRAYER

       WHEREFORE, the Debtors respectfully request that the Court enter an order: (i) denying

the Motion with prejudice; and (ii) granting the Debtors such other and further relief as the Court

may deem just and proper.


Respectfully submitted on the 21st day of November, 2020.

                                              OKIN ADAMS LLP

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                                              PROPOSED ATTORNEYS FOR THE
                                              DEBTORS


                                CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2020, a true and correct copy of the foregoing
Response was served: (i) via the Court’s CM/ECF system to all parties consenting to service
through the same; and (ii) via email to counsel for the Movants.

                                              By:        /s/ Matthew S. Okin
                                                     Matthew S. Okin


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